
Motion of NRG Energy, Inc. for leave to file a brief as amicus curiaegranted. Petition *2050for writ of certiorari to the United States Court of Appeals for the District of Columbia Circuit granted limited to the following Questions: 1) Whether the Federal Energy Regulatory Commission reasonably concluded that it has authority under the Federal Power Act, 16 U.S.C. 791a et seq.,to regulate the rules used by operators of wholesale electricity markets to pay for reductions in electricity consumption and to recoup those payments through adjustments to wholesale rates. 2) Whether the Court of Appeals erred in holding that the rule issued by the Federal Energy Regulatory Commission is arbitrary and capricious. The cases are consolidated and a total of one hour is allotted for oral argument.
Justice ALITOtook no part in the consideration or decision of motion and this petition.
